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JACKSONVILLE DIVISION
HENRY LEE BROWN, JR.,
vs. Plamuff, CASE NO.: 3 \L\-C\/__ 338 _‘;)_‘M :
NCO FINANCIAL SYSTEMS, INC.,
a foreign corporation,
Defendant. /

 

COMPLAINT ANDD MAND FO RY TRlAL
The Plaintiff, HENRY LEE BROWN, JR., sues the Defendant, NCO FINANCIAL

SYSTEMS, INC., a foreign corporation, and in support thereof respectfully alleges the following:
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1. This is an action for damages exceeding Seventy-tlve Thousand Dollals
($75,0(}0.00) exclusive of attorney fees and costs.

2. Plaintiff brings this action to recover statutorily prescribed damages for acts on
the part of Defendant in violation of 47 U.S.C. § 227, et seq., the Telephone Consumer
Protection Act of 1991 (hereaher “TCPA”), and the rules and regulations applicable thereto, as
set forth in 47 C.F.R. § 64.1200 (hereaher the “Rules and Regulations”), the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692, et seq. (hereafter “I-`DCPA”) and the Florida Consumer
COllcction Practices Act, sections 559.55, et seq., Florida Statutes (hereaBer “FCCPA”).

3. Jun'sdiction of this Court arises under 28 U.S.C. § 1331 as this case presents a

federal question, and supplemental jurisdiction under 28 U.S.C. § 1367 for the related claims.
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4. The alleged violations described herein occurred in Duval County, Florida.
Accordingiy, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

 

occurred.
FACTUAL ALLEGATIONS
5. Plaintiff is a natural person who is over the age of eighteen (18) who resides in
Duval County, Florida.
6. Plaintiff is a debtor and/or alleged debtor as that term is defined by section

559.55(2), Florida Statutes.

7. Plaintiff is a “consurner” as that term is defined by 15 U.S.C. § 169221(3).

8. Plaintiff HENRY LEE BROWN, JR., is the “called party” with respect to the
cellular telephone calls described herein. See Soppet v. Enhanced Recovery Co., LLC, 679 F.3d
637, 643 (7*h Cir. 2012).

9. At ali times material hereto, Defendant, NCO FINANCIAL SYSTEMS, INC.
(hereafter “NCO”), Was and is a foreign corporation, duly organized and existing under the laws
of the State of Pennsylvania, with its principal place of business in Horsham, Pennsylvania.

10. At all times material hereto, Defendant NCO did transact business in Duval
County, Florida, as a “debt collector” as that term is defined by 15 U.S.C. § l692a(6) and/or
section 559.55(6), Florida Statutes. Defendant sought to collect an alleged debt from Plaintiff
that arose from a transaction incurred for personal, family or household purposes and is therefore
a “consumer debt.”

11. As described herein, Defendant NCO employed business practices resulting in

intentional harassment and abuse of the Plaintiff, and engaged in patterns of outrageous, abusive

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and harassing conduct by and through its agents and representatives in an effort to collect an
alleged debt from Plaintiff that Plaintiff does not owe.

]2. Defendant NCO consents of and has knowledge and control of the collection
activities of its agents and representatives, including supervisors, managers, affiliates,
subsidiaries, divisions, employees, servants, partners, agents, vendors, assignees, transferees,
collectors and/or contractors with respect to the debt at issue, alleged by Defendant NCO to be
owed by Plaintiff on an unknown account.

13. ln or about May of 2011, Defendant NCO began initiating automated calls to
Plaintiff’s residential telephone number, (904) 355-6211, and his cellular telephone number,
(904) 386-3285, in an effort to collect a debt from Plaintiff on an unknown account which
Plaintiff does not owe. Plaintiff’s caller ID reflected that the Defendant’s calls originated from
the numbers (80()) 725-6588, (800) 735-6588, and (800) 728-3346, among others.

14. On several occasions Plaintiff would speak to an NCO representative and explain
that although his name is “Henry Brown,” there are undoubtedly several individuals named
Henry Brown in this country, and while there may be a “Henry Brown” that owes NCO money,
Defendant NCO was calling the wrong Henry Brown in this instance, and to stop calling his
residential number of (904) 355 -6211 and his cellular phone number of (904) 386-3285.

15. On or about Tuesday, April 23, 2013 at 2:37 p.m., Defendant NCO left the
following voice mail message on Plaintiff s residential answering machine:

Please return call to Kurt Huer at 800-735-6588 - again that's Kurt Huer at 800-
735-6588 - thank you - NCO Financial Systems is a debt collection company this

is an attempt to collect a debt and any information obtained will be used for that
purpose.

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16. On or about Wednesday, April 24, 2013 at 2:17 p.m., Defendant NCO left the
following voice mail message on Plaintist residential answering machine:

This is an important message from NCO Financiai Systems a debt collection
company - please return call to Kurt Huer at 800-728-3346 - Kurt Huer at 800-
'728»3346- thank you - NCO Financial Systems is a debt collection company this
is an attempt to collect a debt and any information obtained will be used for that
purpose. 800-728-3346. Please refer to ID # XDG844.

17. On or about Thursday, April 25, 2013 at 1:49 p.m., Defendant NCO left the
following voice mail message on Plaintiff`s residential answering machine:

Please return call to Kurt Huer at 800-735-6588 - again that'S Kurt Huer at 800-
735-6588 - thank you - NCO Financial Systems is a debt collection company this
is an attempt to collect a debt and any information obtained will be used for that
purpose.

18. On that same date, approximately two hours later, Defendant NCO left another
identical voice mail message on Plaintiff’ s residential answering machine:

19. in or about May of 2013, Plaintiff continued to receive numerous voice messages
on his aforementioned residential answering machine from Defendant NCO in an effort to collect
the above-described alleged debt.

20. Plaintiff is 63 years of age and is currently confined to a wheelchair due to
rheumatoid arthritis. Because of his medical condition, Plaintiff is prone to injury when
attempting to answer the telephone, often times only to hear an automated message from NCO
upon answering.

21. Defendant NCO also initiated calls to Plaintiff"s cellular phone nurnber_, 904-386-
3285, in an effort to collect the above described alleged debt that Plaintiff does not owe.

22. Plaintiff is the regular user and carrier of the cellular telephone number at issue,

904-386-3285, and was the called party and recipient of Defendant NCO’s above~described calls.

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23. Despite Plaintiff notifying Defendant NCO that Plaintiff was not the correct party
and demanding that it stop placing calls to his aforementioned residential and cellular telephone
numbers, Defendant NCO, in an effort to collect the above described alleged debt, proceeded to
engage in conduct in violation of the TCPA, FDCPA and FCCPA by and through the actions of
its agents and representatives, including but not limited to:

a. Calling Plaintiff’s aforementioned cellular telephone number, in excess of
fifteen (15) times in an effort to collect the above described alleged debt.

b. Calling Plaintiff s aforementioned residential and cellular telephone
numbers and leaving messages on Plaintiff s answering machine and/or voicemail disclosing that
the message was left in “an attempt to collect a debt” alleged to be owed by Plaintiff

c. Calling Plaintiffs aforementioned residential and cellular telephone
numbers and hanging up either prior to or as Soon as Plaintiff, members of Plaintiff’s household
or the Plaintiff’s answering machine and/or voicemail answered the call.

d. Calling from numerous different telephone numbers that appear
on Plaintiff’s caller ID as someone or some entity other than Defendant NCO, or With no
identification at all.

e. Failing to provide Plaintiff with requested verification information prior to
subjecting Plaintiff to continuous collection harassment

24. To date, Plaintiff has received in excess of 15 calls from Defendant NCO on his
aforementioned cellular telephone number, and in excess of 150 calls from Defendant to his
aforementioned residential telephone number.

25 . Upon information and belief, the telephone calls at issue Were placed by

Defendant NCO to Plaintiff’s aforementioned cellular telephone number using an “automated
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telephone dialing system” or “autodialer,” which has the capacity to store or produce telephone
numbers to be called using a random or sequential number generator and to dial such numbers as
defined by the TCPA and its Rules and Regulations, 47 U.S.C. § 227(a)(1) and 47 C.F.R. §
64.1200(®(2).

26. Defendant NCO initiated each of the calls at issue to Plaintiff`s aforementioned
cellular telephone number without the “prior express consent” or “prior express invitation or
permission” of Plaintiff as specified by the TCPA and its Rules and Regulations, 47 U.S.C. §
227(b)(1)(A) and 47 U.S.C. § 64.1200(a)(1), and defined by 47 U.S.C. § 64.1200(f)(15).

27. Additionally, none of the telephone calls at issue were placed by Defendant NCO
to Plaintiffs aforementioned cellular telephone for “emergency purposes” as specified by the
TCPA and its Rules and Regulations, 47 U.S.C. §227 (b)(l)(A) and 47 U.S.C. § 64.1200(a)(1),
and as defined by 47 U.S.C. § 64.1200(f)(4).

28. Defendant NCO has a corporate policy of using an automatic telephone dialing
system and/or a prerecorded or artificial voice message, just as it did when calling the Plaintiff" s
aforementioned cellular number and residential number, as described herein.

29. Defendant NCO Willfully and/or knowingly violated the TCPA with respect to the
Plaintiff.

30. Despite actual knowledge of its Wrongdoing, Defendant NCO continued the
campaign of harassment and abuse.

31. Defendant NCO’s corporate policy is structured to continue to call individuals
like the Plaintiff, despite these individuals explaining to the Defendant that they are the wrong

party.

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32. Defendant NCO’s corporate policy provided no means for the Plaintiff to have his
number removed from the call list.

33. As described herein, Defendant NCO employed business practices resulting in
intentional harassment and abuse of the Plaintiff, and engaged in patterns of outrageous, abusive
and harassing conduct by and through its agents and representatives in an effort to collect an
alleged debt from Plaintiff.

34. Defendant NCO intentionally harassed and abused Plaintiff on numerous
occasions by calling several times per day, and on back to back days, With such frequency as can
reasonably be expected to harass, even after Plaintiff told Defendant’s representatives to stop
calling as he was the wrong party.

35. Defendant NCO has a corporate policy to harass and abuse individuals despite
actual knowledge that the called parties do not owe the alleged debt.

36. Defendant NCO followed its corporate policy when attempting to communicate
with the Plaintiff in an effort to collect the alleged debt described herein.

37. Defendant NCO has been the recipient of numerous complaints from debtors,
alleged debtors, and non-debtors across the country, similar to those alleged in this action by
Plaintiff.

38. Defendant NCO has, or should be in possession and/or control of call logs,

account notes, auto dialer reports and/or other records that detail the exact number of calls made

to Plaintiff over the relevant time period.

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COUNT I
VIOLATIONS OF THE TCPA AGAINST NCO

39. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)
through (38), as if fully set forth herein.

40. None of the calls at issue were placed by Defendant NCO to Plaintiff’ s
aforementioned cellular telephone number with the “prior express consent” or “prior express
invitation or permission” of Plaintiff, as specified by the TCPA and its Rules and Regulations, 47
U.S.C. § 227(b)(1)(A) and 47 U.S.C. § 64.1200(a)(1), and defined by 47 U.S.C. §
64.1200(1')(15).

41. Additionally, none of the calls at issue Were placed by Defendant NCO to
Plaintifi’s aforementioned cellular telephone number for “emergency purposes” as specified by
the TCPA and its Rules and Regulations, 47 U.S.C. §227 (b)(l)(A) and 47 U.S.C. §
64.1200(a)(1), and as defined by 47 U.S.C. § 64.1200(f)(4).

42. Defendant NCO willfully and/or knowingly violated the TCPA with respect to
Plaintiff by repeatedly placing non-emergency calls to Plaintiff’s aforementioned cellular
telephone number using an automated telephone dialing system and/or prerecorded or artificial
voice message without Plaintiff’s prior express consent, invitation or permission, as specifically
prohibited by the TCPA and its Rules and Regulations, 47 U.S.C. §227(b)(1)(A)(iii) and 47
U.S.C. § 64.1200(a)(1).

43. The TCPA provides Plaintiff with a private right of action against Defendant
NCO for its violations of the TCPA, as described herein, pursuant to 47 U.S.C.A. § 227(b)(3),

and permits both injunctive relief in addition to statutory damages

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WHEREFORE, Plaintiff respectfully demands judgment against Defendant NCO for
statutory damages, actual damages, punitive damages, costs, interest, an injunction from further
violations of these parts, and for such other relief as this Court deems just and proper.

COUNT ll
VlOLATION ()F THE FDCPA AGAINST NCO

44. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)
through (38), as if fully set forth herein.

45. Plaintiff has been the object of collection activity by Defendant NCO arising from
an alleged consumer debt.

46. Defendant NCO is a “debt collector” as defined by the FDCPA.

47. Defendant NCO engaged in an act or omission prohibited under 15 U.S.C.
§1692c(b) by leaving voicemail messages on Plaintiff’s voice mail in such a way as to disclose
information regarding the alleged debts to third parties.

48. Defendant NCO engaged in an act or omission prohibited under 15 U.S.C.
§1692d by engaging in conduct in connection with the collection of a debt, the natural
consequence of which is to harass, oppress, or abuse Plaintiff

49. Defendant NCO engaged in an act or omission prohibited under 15 U.S.C.
§1692d(5) by causing Plaintiff s telephones to ring or engaging Plaintiff in telephone
conversations repeatedly or continuously with the intent to annoy, abuse, or harass Plaintiff at the
called numbers

50. Defendant NCO engaged in an act or omission prohibited under 15 U.S.C.
§1692d(6) by calling Plaintiff’s aforementioned residential and cellular telephone numbers and

hanging up prior to or as soon as the Plaintiff or the Plaintif`f`s voice mail answered the call, in

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such a way as to fail to provide a meaningful disclosure of its identity.

51. Defendant NCO engaged in an act or omission prohibited under 15 U.S.C.
§1692e(2)(a) by failing to accurately represent the character, amount, or legal status of any debt.

52. Defendant NCO engaged in an act or omission prohibited under 15 U.S.C.
§1692e(10) by the use of any false representation or deceptive means to collect or attempt to
collect a debt from Plaintiff or to obtain information concerning Plaintiff

53. Defendant NCO engaged in an act or omission prohibited under 15 U.S.C.
§1692e(11) by calling Plaintiff’s aforementioned residential and cellular telephone numbers and
hanging up prior to or as soon as the Plaintiff or the Plaintiffs voice mail answered the call, in
such a way as to fail to disclose that the communication was from a debt collector.

54. Defendant NCO engaged in an act or omission prohibited under 15 U.S.C. §1692f
by using unfair or unconscionable means to collect or attempt to collect a debt from Plaintiff

55. Defendant NCO engaged in an act or omission prohibited under 15 U.S.C.
§1692g(a) by failing to send Plaintiff the required Written validation notice within five (5) days
of the initial communication.

56. Defendant NCO engaged in an act or omission prohibited under 15 U.S.C.
§1692g(b) by failing to cease collection efforts until the alleged debt was validated.

57. Defendant NCO engaged in an act or omission prohibited under 15 U.S.C.
§1692g(b) by failing to provide Plaintiff with verification of the debt or a copy of a judgment,
and the name and address of the original creditor, if different than the current creditor.

58. Defendant NCO’s acts and omissions as described herein have directly and
proximately resulted in Plaintiff`s prior and continuing sustaining of damages as described by 15

U.S.C. §1692 including, but not limited to: statutory damages, actual damages in the form of
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emotional pain and suffering, fear, worry, embarrassment, humiliation and loss of the capacity
for the enjoyment of life, and attorneys’ fees and costs.

WHEREFORE, Plaintiff respectfully demands judgment against Defendant NCO for
statutory damages, actual damages, punitive damages, an injunction from similar conduct in the

future, attorneys’ fees, costs, interest and such other relief as this Court deems just and proper.

COUNT III
VIOLATION OF THE FCCPA AGAINST NCO

59. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)
through (38), as if fully set forth herein.

60. At all times material to this action Defendant NCO was and is subject to and must
abide by the law of Florida, including section 559.72, Florida Statutes.

61. Defendant NCO engaged in an act or omission prohibited under section
559.72(7), Florida Statutes, by willfully communicating with the Plaintiff or any member of his
family with such frequency as can reasonably be expected to harass the Plaintiff.

62. Defendant NCO engaged in an act or omission prohibited under section
559.72(7), Florida Statutes, by willfully engaging in other conduct which can reasonably be
expected to abuse or harass the Plaintiff

63. Defendant NCO engaged in an act or omission prohibited under section
559.72(9), Florida Statutes, by attempting to enforce a debt when such person knows that the
debt is not legitimate, or asserting the existence of some other legal right when such person
knows that the right does not exist.

64. The actions of Defendant NCO have directly and proximately resulted in

Plaintiff’s prior and continuing sustaining of damages as described by section 559.77, Florida
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Statutes, including, but not limited to: statutory damages, actual damages in the form of
emotional pain and suffering, fear, worry, embarrassment, humiliation and loss of the capacity
for the enjoyment of life; and attorneys’ fees, interest and costs.

WHEREFORE, Plaintiff respectfully demands judgment against Defendant NCO for
statutory damages, actual damages, punitive damages, an injunction from similar conduct in the
future, attorneys’ fees, costs, interest and such other relief as this Court deems just and proper.

DEMAN]) FO&JLRY TRIAL

Plaintiff demands a trial by jury of all issues so triable.

Res ectfully sub

 

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